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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

United States of America,                                   Civil No. 17-136 (PAM/FLN)

                                Plaintiff,
                                                            SEALED REPORT AND
                                                            RECOMMENDATION
        v.

KleinBank,

                                Defendant.
              ______________________________________________________________

                        Christopher Belen and Ernestine Ward, for Plaintiff.
                      John Lundquist and Anupama Sreekanth, for Defendant.
                                     Joseph Witt, for Amicus.
              ______________________________________________________________

        THIS MATTER came before the undersigned United States Magistrate Judge on

Defendant KleinBank’s motion to dismiss (ECF No. 18). This matter was referred to the

undersigned for Report and Recommendation pursuant to 28 U.S.C. § 636 and Local Rule 72.1.

See Order, ECF No. 12. For the reasons that follow, the Court recommends that Defendant’s

motion to dismiss (ECF No. 18) be DENIED.

                                         I. BACKGROUND

A.      KleinBank’s Financial Services and Lending Practices

        In 2005, Defendant KleinBank was created through a consolidation of nine banks into a

single, charter-bank. See ECF No. 1 at 9–10. KleinBank functions as a financial depository and

lending institution, and offers a range of financial products including deposit services, checking

and savings accounts, residential mortgages, and consumer and commercial loans. See generally

id. KleinBank is principally headquartered in Chaska, Minnesota, and as of March 2016, its

assets totaled nearly two billion dollars. See id. at 4.
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       The United States alleges that from 2010 through 2015, KleinBank redlined its residential

mortgage lending services to avoid offering credit in majority, minority neighborhoods. 1 See id.

at 3–4. The United States claims that during the relevant 2010 through 2015 period, comparable

lenders generated mortgage applications in majority, minority neighborhoods “at over five times

the rate of KleinBank, and originated loans in majority, minority [residential neighborhood]

tracts at over four times the rate of KleinBank.” Id. at 4. Specifically, the United States claims

that only “62 applications, or 1.06% [of KleinBank’s mortgage applications] were related to

residential property located in majority-minority census tracts. During that same time period,

comparable    lenders   generated   5.58%    of       their   single-family   residential   loan[s]   in

majority-minority census tracts . . . .” Id. at 8. In addition, the United States claims that

KleinBank originated a smaller proportion of reportable, residential mortgage loans in majority,

minority neighborhoods relative to comparable lenders during the relevant period. See id. at 9.

For example, “only 51, or 1.16%, of KleinBank’s 4,392 loans were secured by residential

property located in majority-minority census tracts. In contrast, 5.15% of residential loans

originated by comparable lenders were secured by residential property located in

majority-minority tracts — more than four times the rate of KleinBank.” Id.

        The United States alleges that KleinBank’s lending practices effectively denied, or at

least discouraged, equal opportunity for borrowers from majority, minority neighborhoods from

obtaining, or applying for, residential mortgage loans through KleinBank. See id. at 2. The

United States further alleges that KleinBank’s limited number of borrows from majority,

minority neighborhoods is the product of an intentional business philosophy of excluding most

1      Redlining is the practice by which a lender or other financial institution denies or avoids
       providing credit related services to majority, minority neighborhoods. See ECF No. 1 at 1.

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majority, minority census tracts in the Minneapolis-St. Paul-Bloomington, Minnesota-Wisconsin,

Metropolitan Statistical Area (the “MSA”) from its market or credit assessment area, and

favoring majority, white borrowers. See id. at 2. The United States alleges that KleinBank’s

business philosophy resulted in it only establishing branch offices and mortgage loan officers in

majority, white census tracts, and marketing its financial services and products toward majority,

white census tracts and borrowers. See generally id.

       For example, the United States claims that “KleinBank has targeted a portion of its

marketing efforts to within a limited radius of its branch locations, which excludes majority,

minority neighborhoods.” Id. at 7. In terms of branch locations, the United States alleges that

“KleinBank currently has 19 full-service branches and one business loan processing office in the

MSA,” all of which “are and have been located in majority-white census tracts.” Id. at 6. In

addition, beginning in 2007, “KleinBank has opened or acquired at least seven full-service

branches in the MSA, and one business loan processing office. All of these are located in

majority-white census tracts.” Id. at 7. However, “[n]one of [KleinBank’s] residential mortgage

loan officers maintain offices in majority-minority census tracts.” Id.

       On January 13, 2017, the United States initiated this action, raising two discrimination

counts against KleinBank under the Fair Housing Act (“FHA”), 42 U.S.C. § 3601 et seq., and the

Equal Credit Opportunity Act (“ECOA”), 15 U.S.C. § 1691 et seq. See id. at 10–11. Count one

alleges that KleinBank discriminated on the basis of race and/or national origin, and count two

alleges that KleinBank engaged in a pattern or practice of discrimination. See id. at 10–12. The

United States seeks declaratory judgment, injunctive relief, and monetary damages “to all the

victims of KleinBank’s discriminatory policies and practices for the injuries it caused[,]” and the


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imposition of a civil penalty “against KleinBank . . . in order to vindicate the public interest.” Id.

at 13.

B.        The CRA and FDIC

            Klienbank, as a federally insured financial, deposit institution, is required to comply

with the Community Reinvestment Act (“CRA”), 12 U.S.C. § 2901 et seq. See generally ECF

No. 1. The CRA requires that each federal financial supervisory agency’s examination of a given

financial institution, assess that institution’s record of meeting the credit needs of its entire

community, including low and moderate income neighborhoods. See, e.g., ECF No. 23, Ex. D at

4. The CRA further requires that all financial institutions demarcate an assessment area, or

geographic zone, in which it intends to operate and offer financial services. See generally ECF

No. 1. A CRA “assessment area must consist of one or more metropolitan areas or contiguous

political subdivisions unless that area would be extremely large, of unusual configuration, or

divided by significant geographic barriers.” Id. at 5 (citing 12 C.F.R. § 228.41(c)–(d)). “A bank’s

[CRA] assessment area must consist only of whole geographies, and may not reflect illegal

discrimination.” Id. (citing 12 C.F.R. § 228.41(e)).

          The United States claims that since “2007, KleinBank’s main CRA assessment area has

consisted of [the entiriety of] Anoka, Carver, Dakota, McLeod, Scott, Sherburne, Sibley, and

Wright Counties[,]” and a smaller, second assessment area consisting of a portion of rural,

western Minnesota. Id. To the extent that KleinBank offers financial services within Hennepin

and Ramsey Counties, the United States alleges that KleinBank configured its “main CRA

assessment area to be horseshoe-shaped[,]” with the intent of offering financial services to “the

majority white suburbs . . . .” Id. The United States alleges that KleinBank’s horseshoe-shaped


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CRA “carv[ed] out the urban areas of Minneapolis and St. Paul that have higher proportions of

minority populations.” Id. Specifically, the United States alleges that KleinBank’s CRA

“assessment area currently excludes 78 of the 97 majority-minority tracts in the MSA, all but two

of which are located in Hennepin and Ramsey Counties.” Id. at 6. Further, the United States

alleges that “KleinBank’s assessment area excludes all 37 majority-minority census tracts in

Ramsey County, and 39 of the 58 majority-minority census tracts in Hennepin County.” Id. The

United States claims that KleinBank’s proper CRA assessment area would include the “entirety

of Hennepin and Ramsey Counties.” Id.

       During the relevant period of 2010 through 2015, the Federal Deposit Insurance

Corporation (“FDIC”), as a federal financial supervisory agency, conducted three CRA

performance evaluations, and three federal compliance examinations of KleinBank. See ECF No.

21. During that time, the FDIC concluded that KleinBank’s overall CRA compliance was

satisfactory and/or adequate in regards to responsiveness to the credit needs of its CRA

assessment areas. See generally ECF Nos. 24–26; see also ECF No 23, Ex. D at 4, 14; Ex. E at 4;

Ex. F at 4. The FDIC’s examinations of KleinBank tested three CRA performance metrics:

lending, investment, and service, with lending weighted more heavily. See, e.g., ECF No. 23, Ex.

D at 5; Ex. E at 7; Ex. F at 5. Within lending, small business loans received the greatest weight,

home mortgage loans were given less weight, and consumer loans were not analyzed. See, e.g.,

ECF No. 23, Ex. D at 13; Ex. E at 7; Ex. F at 5. KleinBank uniformly scored “high satisfactory”

in lending, both “high satisfactory” and “low satisfactory” in service, and assorted “low

satisfactory” and “needs improvement” in investment. See ECF No. 23, Ex. D at 5; Ex. E at 6;

Ex. F at 3.


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C.     KleinBank’s Motion to Dismiss

       In the instant motion, KleinBank moves to dismiss the United States’ Complaint pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure. See generally ECF No. 19. KleinBank

argues that the United States’ pleaded allegations regarding disparate treatment are bare-bones

and conclusory, and fail to state a plausible claim of relief. See generally id. KleinBank further

argues that United States should be estopped from bringing this case because the FDIC has

already concluded, on multiple occasions from 2010 through 2015, that KleinBank’s CRA

compliance was satisfactory. See generally id. KleinBank maintains that it is entitled to rely on

the FDIC’s findings, and to permit the United States to proceed in this suit constitutes a

constitutional due process deprivation. See id. at 32–37. KleinBank also argues that the United

States Attorney General lacks the requisite authority to bring count one because the United States

fails to allege a pattern or practice of discrimination. See id. at 37–38.

       The United States counters that its Complaint alleges sufficient facts to state a plausible

discrimination claim under the FHA and ECOA. See ECF No. 35 at 7–12. In addition, the United

States argues that it is not estopped from enforcing KleinBank’s alleged fair lending violations

under the FHA and ECOA because the FDIC never conducted a redlining examination, and even

if it did, the FDIC’s examination was not focused on the horseshoe-shape of KleinBank’s CRA

assessment area, which is among the salient facts of this suit. See generally id. Finally, the

United States argues that the United States Attorney General, not the FDIC, has the independent,

statutory enforcement authority to bring a civil action where he has reason to believe that a

financial institution has engaged in a pattern or practice of violating the FHA or ECOA, and

neither the FHA nor ECOA impose an administrative prerequisite on bringing a civil action. See


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id. at 21. As to whether the United States Attorney General has the requisite authority to bring

count one, the United States argues that in considering its claims of whether “KleinBank engaged

in an unlawful pattern or practice of discrimination or denied rights to a group of persons . . . the

Court will necessarily need to examine whether KleinBank’s conduct violated the statutory

provisions set forth in Count I.” Id. at 27.

                                  II. STANDARD OF REVIEW

       In analyzing the adequacy of a complaint under Rule 12(b)(6), the Court must construe

the complaint liberally and afford the plaintiff all reasonable inferences to be drawn from those

facts. See Turner v. Holbrook, 278 F.3d 754, 757 (8th Cir. 2002). For the purpose of a motion to

dismiss, facts in the complaint are assumed to be true. See In re Navarre Corp. Sec. Litig., 299

F.3d 735, 738 (8th Cir. 2002). Nevertheless, dismissal under Rule 12(b)(6) serves to eliminate

actions that are fatally flawed in their legal premises and designed to fail, thereby sparing

litigants the burden of unnecessary pretrial and trial activity. See Neitzke v. Williams, 490 U.S.

319, 326–27 (1989).

       To avoid dismissal, a complaint must allege facts sufficient to state a claim as a matter of

law and may not merely state legal conclusions. See Springdale Educ. Ass’n v. Springdale Sch.

Dist., 133 F.3d 649, 651 (8th Cir. 1998). A plaintiff must provide “more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007). A pleading must contain enough facts to state a

claim for relief that is “plausible on its face,” and a claim has facial plausibility only when the

plaintiff pleads factual content that allows the court to draw a reasonable inference that the

defendant is liable for the misconduct alleged. Id. at 570; see also Ashcroft v. Iqbal, 556 U.S.


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662, 678 (2009). The plausibility standard is not akin to a “probability requirement,” but it calls

for more than a sheer possibility that a defendant has acted unlawfully. Iqbal, 556 U.S. at 678.

       “Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a short and plain

statement of the claim showing that the pleader is entitled to relief.” Id. (internal citation

omitted). “The pleading standard Rule 8 announces does not require detailed factual allegations,

but it demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id.

(internal citations omitted). “[A] complaint [cannot] suffice if it tenders ‘naked assertion[s]’

devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557).

                                 III. CONCLUSIONS OF LAW

       The United States’ allegations here rest solely on a theory of disparate treatment under the

FHA and ECOA. See ECF No. 35 at 12. “Disparate-treatment claims under the FHA are tested

under the same framework as Title VII disparate-treatment claims.” Gallagher v. Magner, 619

F.3d 823, 831 (8th Cir. 2010); see, e.g., Ring v. First Interstate Mortg., Inc., 984 F.2d 924, 926

(8th Cir.1993) (applying the Title VII analysis to a FHA disparate treatment claim). “The

standard is familiar—did the defendant(s) treat the plaintiff(s) less favorably than others based on

their race, color, religion, sex[,] or national origin?” Id. “Proof of discriminatory purpose is

crucial for a disparate treatment claim.” Id.; see also Int’l Bhd. of Teamsters v. United States, 431

U.S. 324, 335 n.15 (1977). The plaintiff must produce “either (a) direct evidence of

discriminatory intent or (b) indirect evidence creating an inference of discriminatory intent under

the McDonnell Douglas burden-shifting framework.” Id.

       The Eighth Circuit has rejected extending the prima facie proof of discrimination

required under Title VII and McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), “to


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measure a plaintiff’s complaint” as a “basis for Rule 12 analysis.” Ring, 984 F.2d at 927. “[T]he

prima facie case under [McDonnell Douglas] is an evidentiary standard—it defines the [quantum

of proof that the] plaintiff must present to create a rebuttable [discrimination] presumption . . .

[and] an evidentiary standard is not a proper measure of whether a complaint fails to state a

claim.” Id. Rather, a court’s analysis of the plaintiff’s complaint “must turn to the statutory

elements of a Fair Housing Act claim to determine whether [the complaint] survives [the

defendant’s] motions to dismiss[,]” id., and whether the plaintiff’s complaint states a plausible

claim and includes factual content showing an entitlement to relief. See Twombly 550 U.S. 557;

Iqbal, 556 U.S. at 678.

       The FHA prohibits “any person or other entity whose business includes engaging in

residential real estate-related transactions to discriminate against any person in making available

such a transaction, or in the terms or conditions of such transaction, because of race.” 42 U.S.C.

§ 3605(a). The FHA also prohibits actions that “otherwise make unavailable or deny a dwelling

because of race . . . or national origin,” 42 U.S.C. § 3604(a), and prohibits discrimination “in the

terms, conditions or privileges of sale or rental of a dwelling, or in the provision of services or

facilities in connection therewith, because of race . . . or national origin.” 42 U.S.C. § 3604(b).

An aggrieved person under the FHA is “defined to include any person who ‘claims to have been

injured by a discriminatory housing practice.”’ Ring, 984 F.2d at 927 (quoting 42 U.S.C. §

3602(i)). Similarly, the ECOA makes it “unlawful for any creditor to discriminate against any

applicant, with respect to any aspect of a credit transaction on the basis of race [or] national

origin . . . [,]” 15 U.S.C. § 1691(a), and ECOA regulations prohibit creditors from making




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statements in advertising that would discourage on a prohibited basis, a reasonable person from

pursing a credit application. See 12 C.F.R. § 1002.4(b)

       Here, the United States has satisfied its pleading obligations under the FHA and ECOA.

The United States alleges that KleinBank’s horseshoe-shaped CRA assessment area was

designed to exclude the vast majority of the majority, minority neighborhoods within Hennepin

and Ramsey Counties. That KleinBank configured its CRA assessment area to purposefully

include most of Hennepin County, but exclude all of the City of Minneapolis, the location of the

majority of the County’s majority, minority neighborhoods, establishes, at least an inference, that

KleinBank “otherwise made credit unavailable on the basis of race” in contravention of the FHA

and ECOA. 42 U.S.C. § 3605(a). 2 KleinBank proffers several reasons as to why it configured its

horseshoe-shaped CRA assessment area, including its tradition as a rural, agriculture lender. See

generally ECF No. 19. However that KleinBank has expanded, since 2007, its branch, financial

service, and marketing efforts into the more densely populated census tracts of Hennepin County,

while concomitantly avoiding the City of Minneapolis and St. Paul, is redolent of a business

philosophy that potentially prefers to avoid minority borrowers. Whether that characterization is

accurate is an argument better reserved for summary judgement or trial; at the 12(b)(6) stage,

however, all inferences must be granted in the United States’ favor. See Turner, 278 F.3d at 757.




2      The Court notes that during the September hearing, KleinBank argued that although its
       CRA assessment area excluded the City of Minneapolis, its CRA assessment area was
       configured pursuant to recognized political subdivisions, including and excluding whole
       counties and cities. However, it did not appear to the Court, from the map presented, that
       the Hennepin County carve-out in KleinBank’s CRA assessment area followed the
       precise City of Minneapolis boundaries. Rather, the carve-out appears to include census
       tracts to the west, and potentially south, of the City of Minneapolis’ boundary.

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       In addition, the United States has offered ample statistical evidence to buttresses its

claims. The United States offers statistical evidence that KleinBank, relative to other lenders,

originated, i.e., made available, marketed, and extended, substantially fewer residential mortgage

loan services to majority, minority neighborhoods. In addition, the United States has shown that

KleinBank has not opened a single branch in Minneapolis or St. Paul, positioned loan officers in

these cities, or marketed its products and services there, but has otherwise opened branches,

positioned loan officers, and marketed its products and services in other parts of Hennepin and

Ramsey Counties. These facts establish at least an inference that KleinBank intentionally avoided

offering residential mortgages in majority, minority neighborhoods within the multi-county

Minneapolis-St. Paul-Bloomington, Minnesota-Wisconsin, MSA, and supports a plausible

discrimination claim under the FHA and ECOA. Indeed, that KleinBank has not opened a single

urban branch, let alone an urban branch in a majority, minority neighborhood, within the entire

MSA supports an inference that KleinBank’s residential mortgage lending practices treated

certain categories of borrows less favorably than others based on their race. See Gallagher, 619

F.3d at 831.

       KleinBank argues that the United States should be estopped from bringing this suit

because the FDIC has already determined that it complied with the CRA. This argument is

unavailing. Assuming without deciding that the FDIC reports can properly be considered at the

12(b)(6) stage, the FDIC’s findings are not dispositive. Although the FDIC found that KleinBank

had a satisfactory record with regards to helping to meet the credit needs of its CRA assessment

area, including the needs of low and moderate income neighborhoods, see generally ECF Nos.

23, 24, 25, and 26, the FDIC’s examinations afforded less weight to home mortgage loans, the


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type of loan, which comprises the bulk of the United States’ claims here. In addition,



                                                        . See generally ECF Nos. 23, 24, 25, and

26. Moreover, neither the FHA nor ECOA forecloses the United States Attorney General from

initiating an action against a party determined to be in CRA compliance by the FDIC. See 15

U.S.C. § 1691e(h). In fact, the FDIC is, but one of several federal financial agencies that examine

CRA compliance and are authorized to refer matters to the United States Attorney General for

civil prosecution. See id.; see also 15 U.S.C. § 1691e(g); 15 U.S.C. § 1691c. In short, the United

States’ ability to bring this case is not dependent on the FDIC’s findings, and the Court finds no

support for the proposition that allowing the United States to proceed here constitutes a due

process violation.

       The Court is mindful of KleinBank and Amicus’ argument that compliance with a

veritable alphabet soup of myriad federal financial, regulatory agencies poses operational,

regulatory, and administrative challenges, and KleinBank may very well have believed that it had

satisfied its CRA obligations through its putative FDIC compliance. However, the size and scope

of the federal financial, regulatory bureaucracy and the obstacles compliance poses are policy

arguments that the Court declines to consider at the 12(b)(6) stage. At this stage, the United

States has plead sufficient facts showing circumstantial evidence of disparate treatment under the

FHA and ECOA, and the inference of discriminatory intent derived from that evidence cuts in the

United States’ favor under the standard set forth in Twombly, and its progeny.

       As to the authority of the United States Attorney General to bring count one of this suit,

the Court observes that under the FHA, “the Attorney General may commence a civil action”


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when the Attorney General “has reasonable cause to believe that . . . any group of persons has

been denied any of the rights granted by [the statute] and such denial raises an issue of general

public importance[.]” 42 U.S.C. § 3614(a). Similarly, under the ECOA, the United States

Attorney General may commence an action when “he has reason to believe that one or more

creditors are engaged in a pattern or practice in violation [of the statute]” or when a matter is

referred to him by an appropriate federal financial agency. 15 U.S.C. § 1691e(h). The United

States has satisfied this standard to bring count one.

       The allegations raised in the United States’ Complaint demonstrate that the United States

Attorney General had cause to believe that KleinBank had not made available residential

mortgages to borrowers from majority, minority neighborhoods commensurate with comparable

lenders, and was actively avoiding offering mortgage loans to borrowers from majority, minority

neighborhoods through its horseshoe-shaped CRA assessment area. That a local financial

institution may be avoiding providing credit services to minority borrowers raises, at minimum,

an issue of “general public importance[.]” 42 U.S.C. § 3614(a) (emphasis added). To that end,

the United States has satisfied its pleading requirements and stated a plausible discrimination

claim under count one. See Twombly, 550 U.S. at 557.

                                   IV. RECOMMENDATION

       Based upon the foregoing, and all of the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED that Defendant’s motion to dismiss (ECF No. 18) be DENIED.



DATED: January 30, 2018                                    s/Franklin L. Noel
                                                           FRANKLIN L. NOEL
                                                           United States Magistrate Judge


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Pursuant to the Local Rules, any party may object to this Report and Recommendation by filing
with the Clerk of Court and serving on all parties, on or before February 13, 2018, written
objections that specifically identify the portions of the proposed findings or recommendations to
which objection is being made, and a brief in support thereof. A party may respond to the
objecting party’s brief within fourteen (14) days after service thereof. All briefs filed under the
rules shall be limited to 3,500 words. A judge shall make a de novo determination of those
portions to which objection is made.


This Report and Recommendation does not constitute an order or judgment of the District Court,
and it is, therefore, not appealable to the Circuit Court of Appeals.




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